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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                   §
                                                         §
EP ENERGY CORPORATION, et al. 1                          §           Case No. 19-35654 (MI)
                                                         §
                                   Debtors.              §           Chapter 11 (Jointly Administered)
                                                         §

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE AND
            NOTICE ON BEHALF OF THE PROPOSED CONFLICTS COUNSEL
            FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         PLEASE TAKE NOTICE that the Proposed Conflicts Counsel for the Official

Committee of Unsecured Creditors (the “Committee”), Pachulski Stang Ziehl & Jones LLP (

“Conflicts Counsel”), in the above-captioned cases, hereby enter its appearance pursuant to

section 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ et seq. (the “Bankruptcy

Code”) and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and requests that the undersigned be added to the official mailing matrices and

service lists in these cases. Conflicts Counsel requests, pursuant to Bankruptcy Rules 2002 and

9007 and section 1109(b) of the Bankruptcy Code, that copies of all notices and pleadings given

or required to be given in these chapter 11 cases and copies of all papers served or required to

be served in these chapter 11 cases, including but not limited to, all notices (including those

required by Bankruptcy Rule 2002), reports, pleadings, motions, applications, lists, schedules,

statements, chapter 11 plans, disclosure statements and all other matters arising herein or in any

related adversary proceeding, be given and served upon the Committee through service upon

Conflicts Counsel at the addresses, telephone, and facsimile numbers set forth below:


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: EP Energy Corporation (2728), EPE Acquisition, LLC (5855), EP Energy LLC (1021),
Everest Acquisition Finance Inc. (0996), EP Energy Global LLC (7534), EP Energy Management, L.L.C. (5013),
EP Energy Resale Company, L.L.C. (9561), and EP Energy E&P Company, L.P. (7092). The Debtors’ primary
mailing address is 1001 Louisiana Street, Houston, TX 77002.


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                                   mlitvak@pszjlaw.com

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices

and papers referred to in the Bankruptcy Rules and the Bankruptcy Code, but also includes

orders and notices of any application, motion, petition, pleading, request, complaint, or demand,

whether formal or informal, whether written or oral, and whether transmitted or conveyed by

mail, courier service, hand-delivery, telephone, facsimile transmission, electronically, or

otherwise filed with regard to the above case.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of the Committee to (a)

have final orders in non-core matters entered only after de novo review by a District Court

judge, (b) trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (c) have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal, or (d) any other rights, claims, actions,

defenses, setoffs or recoupments, under agreements, in law, in equity, or otherwise, all of which

rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.




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Dated: November 15, 2019
                                           Respectfully submitted,

                                           By: /s/ Maxim B. Litvak
                                           PACHULSKI STANG ZIEHL & JONES LLP
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                                           Proposed Conflicts Counsel for the Official
                                           Committee of Unsecured Creditors




                                    Certificate of Service

      I, Maxim B. Litvak, do hereby certify that on this 15th day of November 2019, this Notice
of Appearance was served on all parties entitled to service under the Court’s ECF system.

                                           /s/ Maxim B. Litvak
                                           Maxim B. Litvak




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